Case 8:24-cv-02037-MSS-LSG     Document 11     Filed 04/07/25   Page 1 of 4 PageID 2051



                 THE UNITED STATES COURT OF APPEALS

                     FOR THE ELEVENTH CIRCUIT



  MACK WELLS and MAURICE SYMONETTE

  PLAINTIFF                                       CASE# 24-CV-02037-MSS-LSG


  V.                                                                   ou
                                                                         received   *
                                                                            CLERK
  U.S. BANK NA., JUDGE LINDSAY S. GRIFFIN

  DISTRICTJUDGEOFTHE UNITED STATES DISTRICT
                                                                            fi 7 2025

  COURT FOR THE MIDDLE DISTRICT OF FLORIDA,

  DEFENDANTS


                                              /

                                NOTICE OF APPEAL

  COMES NOW Maurice Symonette and Mack Wells with notice of appeal on Case#
  24-CV-02037-MSS-LSG against Judge's Order Dismissing Plaintiffs Case without
  Prejudice in violation of Fl. Stat. 78. Federal Rule 12 {a)(l)(A) and Rule 1002 and
  1001. See order exh. A. there was no way that this Case should have been
  dismissed because U.S. Bank never showed proof of ownership of the Note on the
  property on this Replevin Case!



                                CERTIFICATE OF SERVICE

  I HEREBY CERTIFY that a true an correct copy of the forgoing has been furnished by
  U.S. Mail to




                                                                                          _i
Case 8:24-cv-02037-MSS-LSG   Document 11     Filed 04/07/25     Page 2 of 4 PageID 2052




                                              Mack Wells
                                           15020 S. River Dr.
                                           Miami Fl. 33167




                                       Maurice Symonette
                                       15020 S. River Dr.
                                           Miami Fl. 33167
   Case 8:24-cv-02037-MSS-LSG                   Document 11         Filed 04/07/25            Page 3 of 4 PageID 2053

                                         UNITED STATES COURT OF APPEALS
                                            FOR THE ELEVENTH CIRCUIT
                                          ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                        56 Forsyth Street, N.W.
                                                        Atlanta, Georgia 30303

                        David J. Smith                                                   For rules and forms visit
                        Clerk of Court                                                   www.ca11.uscourts.gov


                                                         April 8, 2025


                                                                 This notice is to acknowledge receipt of your
   Mr. Mack Wells                                                                     April 7, 2025
                                                                 document(s) on ____________________.
   Mr. Maurice Symonette
   15020 S. River Dr.                                            Your document(s) will be handled as described
   Miami, FL 33167                                               below:


‫ ܆‬This Court’s records indicate that you have no open case ‫ ܆‬An appeal from a district court to a court of appeals may
pending in this Court. No action will be taken on your be taken only by filing a notice of appeal with the district
document(s).                                                   court within the time allowed by FRAP 4. See FRAP 3. You
                                                               mistakenly filed a notice of appeal with this Court. (Please
‫ ܆‬This Court is a federal court of limited jurisdiction. This note, that under 11th Cir. R. 22-1(a), this Court will
Court has authority to act only on cases created under the construe a party’s filing of an application for a certificate of
statutes enacted by Congress. In general, only cases which appealability, or other document indicating an intent to
have been first filed, and finally decided, in a United States appeal, as the filing of a notice of appeal.) Under FRAP
District Court or Bankruptcy Court within this Circuit 4(d), the notice of appeal will be sent to the district court.
(Alabama, Florida, and Georgia), the United States Tax
Court, and certain federal agencies may be appealed to this ‫ ܆‬The Clerk’s Office is unable to discern whether your
Court. This Court does not have authority to act in appeals document(s) may be or may serve as a notice of appeal. Out
from state and county courts. No action will be taken on of an abundance of caution, your document(s) will be sent
your document(s).                                              to the district court under FRAP 4(d) to be processed as the
                                                               district court deems appropriate. No action will be taken in
‫ ܆‬Your document(s) appear(s) to have been intended for a this Court on your document(s).
different court. No action will be taken on your
document(s).                                                   ‫ ܆‬An application for a writ of habeas corpus must be made
                                                               to the appropriate district court. Under FRAP 22(a), the
‫ ܆‬You requested a specific form. The Court does not offer application will be transferred to the district court.
a form related to your request. No action will be taken on
your document(s).                                              ‫ ܆‬The Clerk’s Office is unable to provide you with legal
                                                               advice. No action will be taken on your document(s).
‫ ܆‬Your request for an extension of time to file a notice of
appeal will be submitted to the district court. No action will ‫ ܆‬Other:
be taken in this Court on your document(s).
                                                                    Your Notices of Appeal are being forwarded to the
‫ ܆‬Except as noted above, this Court does not act on                 U.S. District Court (MFL-Tampa) for filing in
requests for an extension of time submitted without an              respective case nos. 8:24-cv-01806-MSS-AAS and
existing case or appeal. No action will be taken on your            8:24-cv-02037- MSS-LSG, U.S. Bank National
document(s).                                                        Association v. Wells, et al.

‫ ܆‬The Clerk’s Office is unable to discern the purpose of
your document(s) and/or your document(s) do(es) not
appear to have been intended for this Court. Please provide
clarification; otherwise, no action will be taken on your
document(s).
                                                                                                                     Rev. 4/21 EKG
    Case 8:24-cv-02037-MSS-LSG   Document 11   Filed 04/07/25
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